Case 2:10-md-02179-CJB-DPC Document 26766 Filed 11/06/20 Page 1of1

FLIOL BURISINOT ‘suvaTIC MON
OLOE a1INS

Aemyseg puogise\ 107
aidng Apuy

OLIOL euRIsSMOT ‘suBaTIC MON

SOPT MINS “oNUdAY seftey IS LOC
200SlIg uopueig ‘Apeig “q Weag
‘g0S8ag ‘Wi uoydars “ueseuelpy ¢ pforeH
prooal Jo sAouroye sii YSNoIy

TI ‘Buyers spoim_ pue souegd

AAMAS ASVAId
8080L VT ‘Snoy FoI
COT SUNS
dA] [eJUOUNUO,) COLT
a0e[ {eT “d SIpuv
IDI IVT ‘f a4puy¥ S/
‘pantuqns AyTnyedsoy
“HOOP SIG) Jo Woddns ur poyTugns UMpuRIOUTEy] Sq} UL peqltosop
Ajjny or0ur SI se pue 09 ay 0} JUeNSINd yUUISpNE & aYeISUIOY 0} VONOJ] STY} SoTL OYM JOSUNOS

pouiszapun ySnomp “LFONO CUAVITTIN “HSuoNNed oy} soutos LANOD OLNI MON

09 ATINY OL LNVASANAd LOMO) /AAIGOW OL NOLLOW

wdldavd Tavo AON ‘OTT ONIAAVLIS FTOUNO GNV SONVG

Uf “NOSNIMATIM 0 HddSO¢
qodnl ALVALSIOVI SNSadA
L900-AD-TL:T “ON LAMOOd Laonod dav THA

VNVISINOT JO LORLSIG NYALS Va
LYNOO LOTALSIC SALVLS CaLINN
